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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

ULYSSES DOUGLAS and TINA DOUGLAS                     *       CIVIL ACTION NO. 3:22-CV-0007
                                                     *
v.                                                   *       JUDGE JOHN W. DEGRAVELLES
                                                     *
UNION PACIFIC RAILROAD COMPANY                       *       MAGISTRATE JUDGE SCOTT D.
                                                     *       JOHNSON
******************************************


    MEMORANDUM IN SUPPORT OF UNION PACIFIC’S MOTION TO DISMISS FOR
      FAILURE TO STATE A CLAIM PURSUANT TO FEDERAL RULE 12(B)(6)
       Defendant, Union Pacific Railroad Company, respectfully submits its Memorandum in

Support of its Motion to Dismiss for Failure to State a Claim Pursuant to Federal Rule 12(b)(6)

on the grounds that Plaintiffs cannot recover from Defendant upon the facts alleged within

Plaintiffs’ Petition for Wrongful Death and Survival Damages.

                                 FACTUAL BACKGROUND

       Ulysses Douglas and Tina Douglas bring the instant survival action and wrongful death

action against Defendant based upon the injury to and death of their brother, Decedent Harold

Douglas (“Mr. Douglas”), who died when he was trying to remove his dog from the path of an

oncoming train in White Castle, Louisiana.1 Mr. Douglas was hunting “in the vicinity of railroad

tracks used by defendant, Union Pacific” when his “dog entered the track area.” 2 Aware of the

imminent danger the “oncoming train” posed to his dog on the tracks, Mr. Douglas tried to rescue

his dog. Mr. Douglas joined his dog on the tracks in the direct path of the “approaching

locomotive.” He was struck by the train and, tragically, died.3



1
  R. Doc. 1-1, See generally Petition for Wrongful Death and Survival Damages.
2
  R. Doc. 1-1, Petition ¶¶ IV, V.
3
  R. Doc. 1-1, Petition ¶ VI.
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          Plaintiffs allege that Union Pacific is liable for Mr. Douglas’ injury and death because of

its failure to keep a proper lookout, reckless and unsafe operation, failure to stop, and failure to

appropriately signal.4 The Petition is devoid of any factual allegations as to Defendant’s acts or

omissions that did or could have caused the accident at issue. According to their Petition, Decedent

Douglas was struck by the train only because he trespassed on the track while the train was

approaching and imposing an imminent danger.

                                     LAW AND ARGUMENT

    I.    Standard under Federal Rule of Civil Procedure 12(b)(6)

          The Federal Rule of Civil Procedure 12(b)(6) motion to dismiss tests the sufficiency of the

complaint against the legal standard set forth in Rule 8 requiring “a short and plain statement of

the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The rule “does not

require ‘detailed factual allegations,’ but it demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusations.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

          To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient

factual matter, when accepted as true, to “state a claim to relief that is plausible on its face.”

Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). A “plausible claim for relief” is

one where the factual allegations contained therein necessarily demonstrate actual misconduct on

the part of the defendant—not “mere possibility of misconduct.” Fed. R. Civ. P. 12(b)(6); See also

Jacquez v. Procunier, 801 F. 2d 789, 791-92 (5th Cir. 1986). “[F]acial plausibility” exists “when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft, 556 U.S. at 678 (quoting Twombly, 550



4
    R. Doc. 1-1, Petition ¶ VII.
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U.S. at 556). The complaint must set forth “more than labels and conclusions, and a formulaic

recitation of the elements of the cause of action.” Twombly, 550 U.S. at 555.

       The Court is not bound to accept legal conclusions couched as factual assertions within the

Petition. Ashcroft, 556 U.S. at 679 (quoting Twombly, 550 U.S. at 555). Instead, the court’s review

is limited to those factual assertions well-pleaded and made within the Petition and any documents

attached thereto. If plaintiff’s complaint fails to allege facts sufficient to “nudge [plaintiffs’]

claims across the line from conceivable to plausible, plaintiffs’ complaint must be dismissed.”

Twombly, 550 U.S. at 570.

       Furthermore, the Supreme Court has explained that Rule 12(b)(6) requires dismissal of a

claim based upon an invalid legal theory:

               Nothing in Rule 12(b)(6) confines its sweep to claims of law which
               are obviously insupportable. On the contrary, if as a matter of law
               ‘it is clear that no relief could be granted under any set of facts that
               could be proved consistent with the allegations,’ ... a claim must be
               dismissed, without regard to whether it is based on an outlandish
               legal theory, or on a close but ultimately unavailing one.

Neitzke v. Williams, 490 U.S. 319, 327 (1989) (internal citations omitted). When a petition does

not satisfy these principles, “this basic deficiency should be exposed at the point of minimum

expenditure of time and money by the parties and the court.” Smith v. Bray, No. CIV.A. 12-323-

BAJ, 2013 WL 774204, at *2 (M.D. La. Feb. 28, 2013) (quoting Cuvillier v. Taylor, 503 F.3d 397,

401 (5th Cir. 2007) (quoting Twombly, 550 U.S. at 558)).

 II.   No Duty is Owed to Pedestrians in Decedent’s Position

       Plaintiffs’ Petition fails to and cannot plausibly allege that Defendant is liable for the

injuries and death suffered by Mr. Douglas under Louisiana law. There is no factual or legal basis

upon which Union Pacific owed a duty to prevent or avoid the risk of injury and/or death to Mr.

Douglas. Mr. Douglas made the tragic decision to place himself on the track in the path of an

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oncoming train. Union Pacific had no duty of care to Mr. Douglas, and there was nothing that

Union Pacific could have done to avoid this accident.

      Mr. Douglas was a trespasser on the railroad tracks. It is well-established in Louisiana law that

pedestrians do not have a right to be on a railway’s “right-of-way, which is essentially private

property.” See, e.g., Anderson v. Illinois Cent. R. Co., 475 F. App'x 30, 32 (5th Cir. 2012) (quoting

Clayton v. Illinois Cent. R. Co., 865 So.2d 896, 901 (La. Ct. App. 2004)). Mr. Douglas was hunting

in “the vicinity of the railroad tracks” at the time.5 He entered the path of the oncoming Union

Pacific train when his dog was at risk of being hit by the train.6 Accepting this fact as true, Mr.

Douglas was not on the train tracks for any legitimate purpose that could render him an invitee of

Union Pacific.

          Under Louisiana law, a railroad company generally owes no duty to someone who “enters

a railroad without license, invitation, or other right, except after discovering his peril, the railroad

must refrain from willfully or wantonly injuring the trespasser.” Anderson v. Illinois Cent. R. Co.,

475 F. App'x 30, 31 (5th Cir. 2012) (quoting Anderson v. Illinois Cent. R. Co., No. CIV.A. 10-

153, 2011 WL 1303865, at *3 (E.D. La. 2011) (citing Doyle v. Thompson, 50 So.2d 505 (La. Ct.

App. 1951) and Rice v. Kansas City Southern Ry. Co., 194 So. 444 (La. App. 1 Cir. 1940)). People

without an “invitation to go upon railway tracks, but who choose to place themselves thereon for

their own convenience, take existing conditions as they find them, and cannot require the railroad

company to protect them from dangers which are as apparent and open to their own observation

as to the company.” Anderson, 2011 WL 1303865, at *3 (citing James v. Thompson, 35 So.2d 146

(La. App. 2 Cir. 1948)).




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    R. Doc. 1-1, Petition ¶ IV.
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    R. Doc. 1-1, Petition ¶¶ V, VI.
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       In Anderson v. Illinois Central Railroad Company, the District Court of the Eastern District

of Louisiana considered these exact issues and determined that the railroad company did not owe

any duty to a pedestrian who was on its tracks without the consent or prior knowledge of the

railroad company. Anderson, 2011 WL 1303865. The Fifth Circuit affirmed the District Court’s

application of Louisiana’s longstanding rule that a railroad does not owe a duty to unwelcome

pedestrians on its track. Anderson v. Illinois Cent. R. Co., 475 F. App'x 30, 31 (5th Cir. 2012).

Only when an engineer “actually see[s]” a pedestrian on the tracks may an exception apply

“[b]ecause the tracks themselves warn of the obvious danger of trains moving upon them[ ] and

because pedestrians have no right to be on the tracks.” Anderson, 475 F. App'x at 32 (citing Doyle

v. Thompson, 50 So.2d 505, 508 (La. Ct. App. 1951); cf. Clayton v. Illinois Cent. R. Co., 865 So.2d

896, 902 (La. Ct. App. 2004)). Still, the exception only imputes the duty to not willfully or

wantonly injure the spotted pedestrian and does not always require the engineer to attempt to stop

the train. See Anderson, 475 F. App'x at 32 (citing Doyle v. Thompson, 50 So.2d at 508); See also

Anderson, 475 F. App’x 30, 32 (explaining that “[A]n engineer, when sighting a person or a vehicle

on the track, can presume that he or it will move from the position of danger upon the sounding of

the train's bell or the blowing of its whistle or horn; and, that it is only when the engineer realizes

that the warnings are not going to be heeded that he should make an effort to stop the

train.”(quoting Clayton, 865 So.2d at 902)).

       Pursuant to the well-established jurisprudential rule that a railroad operator does not owe a

duty to an unwelcome pedestrian, Louisiana law simply does not provide for the relief that

Plaintiffs seek. Accepting the factual allegations of the Petition as true, Defendant did not owe a

duty to Mr. Douglas. Further, Mr. Douglas was clearly aware of the imminent danger imposed by




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the oncoming train. He chose to disregard that danger in an ill-fated effort to save the life of his

dog, with tragic consequences.

       The Petition is devoid of any factual allegations that could justify deviation from the

general rule that a railroad does not owe a duty to trespasser pedestrians. The Petition does not

contain any allegations that anyone operating the train was aware of Mr. Douglas’s position on the

railroad tracks at any time before the accident. To the contrary, the Petition’s few factual

allegations establish that Mr. Douglas stepped onto the train tracks in order to save his dog from

the danger that could logically only be posed by a train threatening imminent impact. Moreover,

the Petition does not allege any indication of a wanton or willful injury on the part of Defendant.

And so, the exception to the general rule that railroads do not owe a duty of care to pedestrians on

railway cannot be invoked here.

       Defendant did not owe a duty to Mr. Douglas because he was a pedestrian trespasser

without a right to be on the train tracks and Plaintiffs have not alleged any facts capable of

supporting his claim that would entitle them to relief. Plaintiffs’ claims should be dismissed

because “it is clear that no relief could be granted under any set of facts that could be proved

consistent with the allegations.” Neitzke v. Williams, 490 U.S. 319, 327 (1989) (internal citations

omitted).

                                         CONCLUSION

       For the above and foregoing reasons, Defendant Union Pacific Railroad Company moves

this Honorable Court for an order granting its Motion to Dismiss for Failure to State a Claim

Pursuant to Federal Rule 12(b)(6), with prejudice.


                                              Respectfully submitted:

                                              IRWIN FRITCHIE URQUHART & MOORE LLC

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                                 CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing pleading was filed electronically with the Clerk
of Court using the court’s CM/ECF system and notice of this filing will be sent to all counsel of
record registered to receive electronic service by operation of the court’s electronic filing system.

                                               /s/ Hillary A. Brouillette




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